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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA

UNITED STATES OF AMERICA,
                                                   Case No. 3:24-cr-118
                    Plaintiff,
                                                   PLEA AGREEMENT
                    V.

NOLLI HEDAIRA NEAL SR.,

                    Defendant.


       Pursuant to Rule 11(c)(1)(B) of the Federal Rules of Criminal Procedure, the

United States of America, by its attorneys, Mac Schneider, United States Attorney for the

District of North Dakota, and Christopher C. Myers, Assistant United States Attorney;

Defendant, NOLLI HEDAIRA NEAL SR.; and Defendant's counsel, Brian Toay, agree

to the following:

       1.     Defendant acknowledges the Information charges violations of Title 21,

United States Code, Sections 841(a)(l), 84l(b)(l)(C), and 846.

       2.     Defendant has read the charges and Defendant's attorney has fully

explained the charges to Defendant.

       3.     Defendant fully understands the nature and elements of the charged crimes.

       4.     Defendant will voluntarily plead guilty to Counts One and Two of the

Information and admit to the Forfeiture Notice.

       5.     The parties agree this Plea Agreement shall be filed as part of the Court

record and be governed by Federal Rule of Criminal Procedure 1 l(c). The paiiies

specifically agree that Rule 1 l (c)(l)(C) does not apply. If the United States makes the
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